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                          UNITED STATES DISTRICT COURT
 9
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                 WESTERN DIVISION
11
12
     UNITED STATES OF AMERICA,                 Case No. CR 22-09-SB
13
                 Plaintiff,                    DEFENDANT THOMAS H.
14                                             PETERS’ EXHIBITS IN SUPPORT
          v.                                   OF POSITION REGARDING
15                                             SENTENCING
     THOMAS H. PETERS,
16                                             Date:      May 9, 2023
                 Defendant.                    Time:      8:00 a.m.
17                                             Courtroom: 6C
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      DEFENDANT THOMAS H. PETERS’ EXHIBITS IN SUPPORT OF POSITION REGARDING SENTENCING
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 1        Defendant Thomas H. Peters, by and through his counsel of record, hereby
 2 submits the attached exhibits in support of his position regarding sentencing.
 3        These exhibits include the defense’s letters of support for Mr. Peters. The
 4 defense has not submitted a letter of support from Mr. Peters’ wife, Elaine Mandel
 5 Peters because the Canons of Judicial Ethics, Canon 2(B)(2) and 2(B)(3)(c) prohibit
 6 her, as a sitting Superior Court Judge, from providing a letter of support to the court
 7 without an official request. Should the court make such an official request, Mrs.
 8 Peters would gladly submit a letter.
 9        Mrs. Peters has written to and spoken with the probation officer in connection
10 with preparation of the Presentence Report (“PSR”), which the defense understands
11 is allowed by Canon 2(B)(3)(c).
12        Absent the Canon’s prohibitions, Mr. Peters would have submitted additional
13 letters from bench officers who he has worked with and appeared before.
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16 DATED: April 25, 2023                  KENDALL BRILL & KELLY LLP
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                                          By:          /s/ Jeffrey H. Rutherford
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                                                Jeffrey H. Rutherford
20                                              Attorneys for Defendant Thomas H. Peters
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     DEFENDANT THOMAS H. PETERS’ EXHIBITS IN SUPPORT OF POSITION REGARDING SENTENCING
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 1                  Defendant Thomas H. Peters’ Index of Exhibits
                     In Support of Position Regarding Sentencing
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 3
     No.       Description                                           Exhibit Number
 4
 5   1.        Thomas Peters’ Letter to the Court                    A
 6
     2.        Letters of Support                                    B
 7
     3.        Thomas Peters’ Curriculum Vitae                       C
 8
 9   4.        Organization Charts                                   D
10
     5.        Bradshaw v. City of Los Angeles, Case No. CV 19-      E
11             6661-VAP
12
     6.        Redacted                                              F
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14   7.        MEND Materials                                        G

15   8.        Redacted                                              H
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     9.        Payment Documents                                     I
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     DEFENDANT THOMAS H. PETERS’ EXHIBITS IN SUPPORT OF POSITION REGARDING SENTENCING
